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                 UNITED STATES COURT OF INTERNATIONAL TRADE


                                                     )
TITAN TIRE CORPORATION,                              )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )        Court No. 24-00207
                                                     )
UNITED STATES,                                       )
                                                     )
                              Defendant.             )
                                                     )

                                           COMPLAINT

       Plaintiff Titan Tire Corporation (“Plaintiff”), by and through its attorneys, alleges and

states as follows:

               ADMINISTRATIVE DETERMINATION TO BE REVIEWED

       1.      Plaintiff contests portions of the final results issued by the U.S. Department of

Commerce (“Commerce”) in the countervailing duty administrative review covering the period

from January 1, 2022, through December 31, 2022, in Certain New Pneumatic Off-the-Road

Tires From India, Case No. C-533-870.

       2.      Notice of Commerce’s final results was published in the Federal Register on

October 22, 2023. See Certain New Pneumatic Off-the-Road Tires From India: Final Results of

Countervailing Duty Administrative Review; 2022, 89 Fed. Reg. 84,331 (Dep’t of Commerce

Oct. 22, 2023) (“Final Results”).

       3.      The findings and conclusions of the Final Results are set forth in Commerce’s

Issues and Decision Memorandum dated October 9, 2024.




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                                         JURISDICTION

         4.    The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c), as this

action is commenced under 19 U.S.C. §§ 1516a(a)(2)(A) and (a)(2)(B)(iii).

                                           STANDING

         5.    Plaintiff is a manufacturer and producer of the domestic like product in the United

States. As such, Plaintiff is an “interested party” within the meaning of 19 U.S.C. §§ 1516a(f)(3)

and 1677(9)(C) and 28 U.S.C. § 2631(k)(1).

         6.    Plaintiff participated in the administrative review that is the subject of this

challenge and, accordingly, has standing to commence this action as a “party to the proceeding”

pursuant to 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).

                                  TIMELINESS OF ACTION

         7.    Plaintiff commenced this action by filing a Summons on November 21, 2024,

within 30 days after the date of publication of the Final Results.

         8.    Plaintiff is filing this Complaint within 30 days after filing of the Summons.

         9.    The Summons and Complaint therefore are timely filed pursuant to 19 U.S.C.

§ 1516a(a)(2), 28 U.S.C. § 2636(c), and Rules 3(a)(2) and 6(a) of the U.S. Court of International

Trade.

                  HISTORY OF THE ADMINISTRATIVE PROCEEDING

         10.   The countervailing duty order in this proceeding was published in the Federal

Register on March 6, 2017. See Certain New Pneumatic Off-the-Road Tires from India and Sri

Lanka: Amended Final Affirmative Countervailing Duty Determination for India and

Countervailing Duty Orders, 82 Fed. Reg. 12,556 (Dep’t of Commerce Mar. 6, 2017).




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       11.    Notice of opportunity to request the underlying review, which covers the period

from January 1, 2022, through December 31, 2022, was published in the Federal Register on

March 2, 2023. See Antidumping or Countervailing Duty Order, Finding, or Suspended

Investigation; Opportunity To Request Administrative Review and Join Annual Inquiry Service

List, 88 Fed. Reg. 13,091 (Dep’t of Commerce Mar. 2, 2023).

                                   STATEMENT OF FACTS

       12.    The underlying review was initiated by notice published in the Federal Register

on May 9, 2023. See Initiation of Antidumping and Countervailing Duty Administrative

Reviews, 88 Fed. Reg. 29,281 (Dep’t of Commerce May 9, 2023).

       13.    Commerce initiated a review of 30 companies. See id.

       14.    In the underlying review, Commerce determined that it could not conduct

individual reviews of all respondents, due to the large number of respondents in the review and

constraints on its resources. Accordingly, Commerce determined to select two respondents for

individual examination: ATC Tires Private Limited (“ATC”) and Balkrishna Industries Ltd.

(“BKT”).

       15.    In the original countervailing duty investigation, Commerce found that the

Advanced Authorization Scheme (“AAS”) is a countervailable export subsidy program providing

import duty exemptions to Indian producers such as BKT. Commerce made this finding after the

Government of India (“GOI”) failed to demonstrate that the GOI’s Norms Committee, the body

responsible for reviewing the ad hoc norms used by BKT, has an adequate procedure in place

under 19 C.F.R. § 351.519(a)(4) to ensure the ad hoc norms chosen by BKT reflect actual

consumption, and the GOI confirmed that it does not regularly conduct physical audits for this

program. See Countervailing Duty Investigation of Certain New Pneumatic Off-the-Road Tires



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From India: Final Affirmative Determination, and Final Affirmative Critical Circumstances

Determination, in Part, 82 Fed. Reg. 2946 (Dep’t of Commerce Jan. 10, 2017), and

accompanying Issues and Decision Memorandum at 14–15, 28–30.

         16.   In the Final Results of the review before the court in this appeal, however,

Commerce improperly concluded that the GOI had carried out an examination of the inputs

involved to confirm which inputs are consumed in the production of the exported product, and in

what amounts, in accordance with 19 C.F.R. § 351.519(a)(4)(ii). This assessment was based on

a post hoc and incomplete examination performed by the GOI at BKT’s request after the period

of review — and solely for the purpose of the review. Based on this flawed examination, which

did not meet the requirements of 19 C.F.R. § 351.519(a)(4), Commerce incorrectly determined

that during the period of review BKT had not used, and did not benefit from, the AAS program.

See Certain New Pneumatic Off-the-Road Tires From India: Final Results of Countervailing

Duty Administrative Review; 2022, 89 Fed. Reg. 84,331 (Dep’t of Commerce Oct. 3, 2023), and

accompanying Issues and Decision Memorandum at 20–21.

         17.   Commerce ultimately calculated a de minimis net subsidy rate for BKT of 0.34

percent ad valorem in the Final Results.

         18.   In the Final Results, Commerce assigned the companies not selected for

individual examination a subsidy rate equal to the net subsidy rate calculated for ATC, which

was 1.70 percent ad valorem.

                                            COUNT I

         19.   Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 18

above.




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         20.    Commerce’s determination that BKT did not use or benefit from the AAS

program during the period of review is not supported by substantial evidence and not in

accordance with law. Specifically, Commerce’s interpretation of 19 C.F.R. § 351.519(a)(4) to

accept a post hoc and incomplete examination performed by the GOI after the period of review

and solely for the purpose of the review as satisfying the requirement of an adequate procedure

to check consumption ratios and wastage rates calculated by BKT is unreasonable, unlawful, and

not supported by substantial evidence.

                                             COUNT II

         21.    Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 20

above.

         22.    As a result of the error set out in Count I above, Commerce’s final subsidy rates

for BKT and the companies not selected for individual examination are unsupported by

substantial evidence and not in accordance with law.

                          REQUEST FOR JUDGMENT AND RELIEF

         For the reasons stated in this Complaint, Plaintiff respectfully requests that the Court:

         1.     Enter judgment in favor of Plaintiff;

         2.     Hold that Commerce’s Final Results are not in accordance with law and are not

supported by substantial record evidence with respect to the claims advanced by Plaintiff in this

Complaint;

         3.     Remand the Final Results to Commerce for disposition consistent with the

Court’s final opinion; and




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      4.     Provide any other such relief that this Court deems just and appropriate.


Dated: December 20, 2024                   /s/ Jennifer M. Smith-Veluz
                                           Adam H. Gordon, Esq.
                                           Jennifer M. Smith-Veluz, Esq.
                                           Benjamin J. Bay, Esq.

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                                           Counsel to Titan Tire Corporation




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                                CERTIFICATE OF SERVICE
       I, Jennifer M. Smith-Veluz, hereby certify that on December 20, 2024, I caused the

foregoing Complaint to be served on the following parties by the United States mail, certified,

return receipt requested, postage prepaid, pursuant to USCIT Rule 3(f).

 ON BEHALF OF THE UNITED STATES:

 Attorney-in-Charge                               Director of Commercial Litigation Branch
 International Trade Field Office                 Civil Division,
 Department of Justice                            U.S. Department of Justice
 Civil Division Room 346, Third Floor             Room 12124
 26 Federal Plaza                                 1100 L Street, N.W.
 New York, NY 10278                               Washington, D.C. 20530

 Brittany M. Welch
 Trial Attorney
 U.S. Department of Justice
 Civil Division
 Commercial Litigation Branch
 PO Box 480
 Ben Franklin Station
 Washington, D.C. 20044

 ON BEHALF OF THE U.S. DEPARTMENT OF COMMERCE:

 General Counsel
 U.S. Department of Commerce
 14th Street and Constitution Avenue, NW
 Washington, DC 20230

 ON BEHALF OF THE INTERESTED PARTIES IN THE COUNTERVAILING DUTY
 ADMINISTRATIVE REVIEW:

 Representative of Balkrishna Industries Ltd.:    Representative ATC Tires Private Limited
 John M. Gurley                                   and Yokohama Off-Highway Tires America,
 ArentFox Schiff LLP                              Inc.:
 1717 K Street, NW                                Eric Emerson
 Washington, DC 20006                             Steptoe & Johnson LLP
                                                  1330 Connecticut Avenue, NW
                                                  Washington, DC 20036-1795
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Representative of Asian Tire Factory Limited,    Representative of the Embassy of India:
Mahansaria Tyres Private Limited and TVS         Chitrangna Singh
Srichakra Limited                                Embassy of India
David Craven                                     Commerce Wing
Craven Trade Law LLC                             2536 Massachusetts Avenue, NW
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                                                /s/ Jennifer M. Smith-Veluz
                                                Jennifer M. Smith-Veluz
                                                THE BRISTOL GROUP PLLC
                                                Counsel to Titan Tire Corporation
